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 15                  UNITED STATES DISTRICT COURT
           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 16

 17    INNOVATIVE HEALTH LLC,
 18                                                Case No.: 8:19-cv-1984-JVS (KES)
               Plaintiff,
 19                                                DECLARATION OF
         vs.                                       ALEJANDRO H. CRUZ IN
 20
                                                   SUPPORT OF DEFENDANT’S
       BIOSENSE WEBSTER, INC.,
 21                                                TRIAL BRIEF
 22            Defendant.
 23                                                Action Filed: October 18, 2019
                                                   Trial Date: May 1, 2025
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                                    ID #:23196


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            I, Alejandro H. Cruz, declare as follows:
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            1.     I am an attorney admitted to the bar of the State of New York. My pro
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      hac vice application to practice before this Court was granted on February 12, 2025.
  4
      I am a partner at Patterson Belknap Webb & Tyler LLP and represent the
  5
      defendant, Biosense Webster, Inc. (“BWI”), in this matter.
  6
            2.     I make this declaration in support of BWI’s trial brief.
  7
            3.     The facts I state here are true and correct to the best of my knowledge
  8
      and understanding. I make each of the statements below based on my own personal
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      knowledge and a review of the files associated with this matter. If called as a
 10
      witness, I could and would testify competently to the facts stated herein.
 11
            4.     A true and correct copy of the January 27, 2025 transcript of
 12
      proceeding in Surgical Instrument Serv. Co. v. Intuitive Surgical, Inc., Case No. 21-
 13
      cv-3496 (N.D. Cal.) is attached hereto as Exhibit 1.
 14
            5.     A true and correct copy of Innovative Health LLC’s (“IH”) Chief
 15
      Executive Officer, Rick Ferreira’s deposition transcript is attached hereto as
 16
      Exhibit 2.
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            6.     A true and correct copy of the April 14, 2025 transcript of proceeding
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      for the pretrial conference is attached hereto as Exhibit 3.
 19
            I declare under penalty of perjury that the foregoing is true and correct.
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      Executed this 24th day of April 2025, in Newport Beach, California.
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 23                                  By:     /s/ Alejandro H. Cruz
 24                                          Alejandro H. Cruz

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